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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION

 ITRIA VENTURES, LLC,                      Cause No. CV-23-24-GF-BMM-JTJ
              Plaintiff,
        v.                                 BRIEF IN SUPPORT OF
                                           PLAINTIFF’S MOTION TO
 MARQUIS CATTLE COMPANY;                   REMAND
 CORY SHANNON MARQUIS;
 BECKIE JO MARQUIS,

              Defendants.


      This case stems from two agreements between Plaintiff and Defendants.

Both Agreements contain identical forum selection clauses reflecting the parties’

agreement to “irrevocably consent to the exclusive jurisdiction and venue of state

courts” in New York or Montana. (Complaint (Doc. 1-2), Exs. A and B, § 15(b).)
      Plaintiff respectfully requests this Court enforce the Agreements’ mandatory

forum selection clause and remand this case back to the state district court in

Cascade County, Montana.

                                 BACKGROUND

      This case arises from two Future Receivables Sale Agreements (collectively,

the “Agreements”), dated December 21, 2021 and March 14, 2022, between

Plaintiff, as Purchaser, Defendant Marquis Cattle Company (“MCC”), as

Merchant, and Defendants Cory and Becky Marquis (the “Marquis”) as

Guarantors. (Doc. 1-2, Exs. A and B.)

      Section 15(b) of both Agreements provides the following:

      (b) Venue and Personal Jurisdiction. Subject to Section 15(g), the
      parties irrevocably consent to the exclusive jurisdiction and venue of
      state courts located in: (x) the State of New York; (y) the State of
      Merchant’s incorporation or formation or where its operations,
      offices, assets or domicile are located or (z) the state where any
      Guarantor resides. Merchant and each Guarantor hereby
      irrevocably and unconditionally waives any and all claims and
      objections to jurisdiction and/or venue as per this provision.

(Doc. 1-2, Exs. A and B, § 15(b)(emphasis in original).) A Guaranty of

Performance (the “Guarantees”) accompanies each of the Agreements and is

executed by the Marquis in their individual capacities. (Doc. 1-2, Exs. A and B,

pp. 15–16.) Section (b) of the Guarantees each reflects an express agreement by

the Marquis to be similarly bound by the forum selection clause in Section 15(b) of




                                          2
the Agreements, in the event of any dispute arising under the Guarantees. (Doc. 1-

2, Exs. A and B, p. 15.)

      On April 21, 2023, Plaintiff filed a Complaint in state district court in

Cascade County, Montana, the State of MCC’s incorporation and the State (and

County) where the individual guarantors reside. Plaintiff’s Complaint asserts

breach of contract claims against MCC and breach of guaranty claims against the

Marquis, based on MCC’s failure to make payments required under the

Agreements and the Marquis’ failure to fulfill their obligations under the

Guarantees of Performance accompanying each of the Agreements. (See

generally, Doc. 1-2, Complaint ¶¶ 17–36).

       Notwithstanding the mandatory and unambiguous forum selection clause in

the Agreements, Defendants filed a Notice of Removal seeking to remove the case

to this Court (“Notice”). (Doc. 1.) Defendants’ Notice asserts that removal is

proper on the basis of diversity jurisdiction. (Doc. 1.)

                               LEGAL STANDARD

      Federal courts strictly construe the removal statute against removal

jurisdiction. Gaus v. Miles, Inc., 980 F.2d 564, 566 (9th Cir. 1992). “[I]t is to be

presumed that a cause lies outside the limited jurisdiction of the federal courts and

the burden of establishing the contrary rests upon the party asserting jurisdiction.”

Hunter v. Philip Morris USA, 582 F.3d 1039, 1042 (9th Cir. 2009). “[I]f there is



                                          3
any doubt as to the right of removal in the first instance,” federal jurisdiction must

be rejected. Gaus, 980 F.2d at 566.

                                     ANALYSIS

      “Even if a court has subject matter jurisdiction over a removed case, it may

remand the case based on an enforceable and valid forum selection clause.” U

Hanging Seven Ranch, Inc. v. Oneok Elk Creek Pipeline, L.L.C., No. CV 22-21-

BLG-SPW-KLD, 2022 U.S. Dist. LEXIS 163329, at *6 (D. Mont. Aug. 1, 2022).

“‘Forum selection clauses are prima facie valid’ and should be enforced unless the

party challenging enforcement can show that the clause is ‘unreasonable under the

circumstances.’” Id. (quoting Argueta v. Banco Mexicano, S.A., 87 F.3d 320, 325

(9th Cir. 1996)). A forum selection clause is “unreasonable” in three situations: (1)

its incorporation into the contract was the result of fraud, undue influence, or

overweening bargaining power; (2) the selected forum is so gravely difficult and

inconvenient that the complaining party will for all practical purposes be deprived

its day in court; or (3) enforcement of the clause would contravene a strong public

policy of the forum in which the suit is brought. Id.

      District courts apply federal contract law to determine the enforceability of

forum selection clauses in diversity cases. Yankeecub, LLC v. Fendley, No. CV-

21-42-BU-BMM, 2021 U.S. Dist. LEXIS 153110, at *6 (D. Mont. Aug. 10, 2021).

Federal contract law requires courts to use general principles of contract



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interpretation to ascertain the meaning of forum selection clauses. Id. In turn,

those general principles require that contract terms be given their ordinary meaning

and, when the terms of a contract are clear, the intent of the parties can be

ascertained from the contract itself. U Hanging Seven, 2022 U.S. Dist. LEXIS

163329 at *6. In the Ninth Circuit, a mandatory forum selection clause that

specifies venue will be enforced. Docksider, Ltd. v. Sea Tech., Ltd., 875 F.2d 762,

764 (9th Cir. 1989) (“The prevailing rule is clear…where venue is specified with

mandatory language the clause will be enforced.”).

      In this case, the forum selection clause in § 15(b) of the Agreements and

incorporated by reference in the Guarantees, is clear and mandatory. It reflects the

parties’ “irrevocabl[e] consent” to submit contractual disputes “to the exclusive

jurisdiction and venue of state courts” in either New York or Montana, the state of

MCC’s incorporation and the state where the Marquis reside. (Doc. 1-2, Exs. A

and B, § 15(b).) Furthermore, § 15(b) reflects the parties’ agreement to

“irrevocably and unconditionally waiv[e] any and all claims and objections to

jurisdiction and/or venue as per this provision.” Id.

      In accordance with § 15(b), Plaintiff properly initiated its action in Montana

state court. Defendants’ attempt to remove the action to this Court violates the

plain language of § 15(b) and requires remand unless Defendants can establish that

enforcement of § 15(b) would be “unreasonable” under the circumstances.



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U Hanging Seven, 2022 U.S. Dist. LEXIS 163329, at *6. They cannot. Even if

Defendants had a basis to contest the enforceability of § 15(b)’s forum selection

clause, such objections are waived by the very same provision.

      Defendants’ removal is an improper attempt to avoid the application of a

forum selection clause to which they expressly agreed. This Court should look to

the clear language of § 15(b), recognize the parties’ intent to submit to the

exclusive jurisdiction of the Montana district court in Cascade County for purposes

of this dispute, and remand this case to such court pursuant to 28 U.S.C. § 1447(c).

                                  CONCLUSION

      For these reasons, Plaintiff respectfully asks this Court to remand this case

back to the Montana Eighth Judicial District Court, Cascade County, Montana.

      DATED this 16th day of June, 2023.
                                        BOONE KARLBERG P.C.

                                        /s/ Natasha Prinzing Jones
                                        Natasha Prinzing Jones
                                        Attorneys for Plaintiff




                                          6
